         Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                  JOINT STATUS REPORT

       Pursuant to the Court’s July 30, 2021, Minute Order, the parties respectfully submit the

following joint status report.

       Position of the Committee on Ways and Means:

       Simultaneously with this status report, the Plaintiff Committee on Ways and Means (“the

Committee”) is filing a motion for dismissal pursuant to Federal Rule of Civil Procedure 41(a)(2)

of the claims filed by the Committee against Defendants Department of the Treasury et al.

       With respect to the counterclaims filed today by Defendant-Intervenors against the

Committee, the Committee objects to any discovery on those counterclaims. Given the

immunity afforded the Committee by the Speech or Debate Clause of the Constitution,

Defendant-Intervenors’ discovery request appears to be solely a tactic to obtain further delay

(noting below that any disagreement “will take time to resolve”) and is unlikely to produce any

relevant information. The Committee further objects to the lengthy and indefinite briefing
         Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 2 of 8




schedule requested by Defendant-Intervenors, particularly because the Committee has been

seeking documents from Defendants for over two years already. The Committee strongly

disagrees with Defendant-Intervenors’ characterization of the proceedings thus far and the merits

of the case—and submits that the inclusion of those lengthy arguments in this status report is

highly inappropriate—but will save its responses for the appropriate time.

       The Committee joins in Defendants’ request for the reasonable expedited briefing

schedule set forth in their position. The Committee objects to the forbearance from production

of the requested materials unless the case proceeds along the expedited schedule proposed by

Defendants.

       Position of the Department of the Treasury Defendants:

       The Department of the Treasury (“Treasury”) believes, in accordance with the July 30,

2021, opinion of the Department of Justice Office of Legal Counsel (“OLC”), that it is obligated

under the mandatory terms of 26 U.S.C. § 6103(f)(1), to furnish to the Committee the returns and

return information requested in its June 16, 2021, letter, and to do so promptly.

       Defendant-Intervenors have filed cross-claims against Treasury, seeking to prevent

Treasury from complying with the Committee’s request. Under ordinary circumstances,

Defendant-Intervenors would be required to seek emergency injunctive relief to prevent the

disclosure. To facilitate orderly judicial resolution, Treasury is prepared to forbear voluntarily

from releasing the requested returns to the Committee while the parties brief Defendant-

Intervenors’ new claims and this Court determines whether Defendant-Intervenors have a current

right to preclude the release. (Treasury will also forbear from releasing the requested returns to

the Committee pending entry of a scheduling order in response to this joint status report.)

       To obviate a need for preliminary injunction proceedings, Defendants propose the

following expedited schedule:

                                                 2
         Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 3 of 8




              August 23, 2021:        Trump parties’ motion for summary judgment
              September 7, 2021:      Treasury’s and Committee’s cross-motions for summary
                                       judgment and opposition to Trump parties’ motion
              September 14, 2021: Trump parties’ opposition to Treasury’s and the
                                   Committee’s cross-motions, and reply in support of
                                   their motion
              September 21, 2021: Treasury’s and Committee’s replies in support of their
                                   cross-motions
              September 28, 2021: Oral argument
       Defendants do not believe that discovery is necessary or appropriate to resolve the

parties’ cross-motions, as the issues presented are strictly legal in nature and do not involve

disputed issues of material fact. Defendants agree with the Committee that the Defendant-

Intervenors have not submitted a statement of position on this issue, but instead used this filing

as a vehicle for submitting argument that the Court did not invite. Defendants will not follow

that example, but will instead respond to Defendant-Intervenors’ arguments at the proper time.

       Position of the Defendant-Intervenors Donald J. Trump and Associated Entities:

       Intervenors seek a reasonable—though still highly expedited—opportunity to litigate

their claims. Intervenors request 60 days to conduct discovery and an additional 30 days to file a

dispositive motion. That 90-day period would be less than half the time it took the new

administration to even take a position in this case, and it is more than reasonable in light of the

important issues at stake, the parties’ conduct, and the pace of this litigation so far. As this Court

noted in May, this case is too important to end with “some sort of fait accompli that requires [the

Court] to either accept it or reject it on a rapid timeline,” especially since “the intervenors have

little to no opportunity to weigh in on [the other parties’] negotiations.” 5/3/21 Tr. 6.

                                              *       *       *

       The parties’ sudden desire for expedition cannot be squared with the history of this case.

The 116th Congress began on January 3, 2019. After Speaker Pelosi promised that requesting

                                                  3
         Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 4 of 8




President Trump’s long-desired tax returns was “one of the first things we’d do,” no request was

made until April 3, 2019—three months later. When Secretary Mnuchin objected on May 6, the

Committee waited another two months to file this lawsuit. The Committee then waited another

month and a half before filing a motion for summary judgment or requesting expedition. As the

Government observed at the time, the Committee “cannot now complain about the ‘delays’ in

ordinary civil practice,” having “failed itself to act in an expeditious manner” and “with little to

no explanation for its leisurely pace.” Doc. 33 at 10-11.

       That leisurely pace has only continued. This case has been stayed since early 2020.

During that time, the Committee “rejected” one “expeditious approach” offered by the Court,

Doc. 91 at 5, and it withdrew its own motion to lift the stay in September 2020, Doc. 96. Shortly

after the new administration and new Congress began, this Court held a status conference to

determine how the litigation would proceed. Yet it took six months for the Committee and

Defendants to provide an answer to that basic question.

       In the meantime, the Committee and Defendants have left Intervenors in the dark about

their plans. They never included Intervenors in the “communications” they were having over the

last six months, despite Intervenors’ requests to participate. When they filed their sixth monthly

status report on July 2, 2021, they knew that their next report on July 30 would be the “final”

one—but they never explained why. Doc. 109. In fact, a few weeks earlier, the Committee’s

chairman had written a letter to Defendants Yellin and Rettig, purporting to make a revised

“request” under 26 U.S.C. §6103(f) for Intervenors’ tax information. Doc. 113, Ex. A. One day

after that letter was sent, the Treasury Department apparently asked the Justice Department’s

Office of Legal Counsel for a formal legal opinion. See Doc. 113, Ex. B. OLC issued that

opinion on July 30.




                                                  4
         Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 5 of 8




       Intervenors were not told about any of this until the afternoon of July 30—shortly before

the parties’ joint status report was due. Even though Intervenors are the real party in interest, see

Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2035 (2020), they weren’t informed that the

Committee had sent a “request” on June 16, 2021. The new OLC memo also mentions emails,

memorandums, and letters that Intervenors have never seen. Nor have Intervenors had the

opportunity to obtain and review other nonprivileged communications and accommodation

efforts between the Committee, the Treasury Department, and others.

       As Defendants have recognized before, Intervenors’ objections to the Committee’s

request are “serious,” “difficult,” and “weighty.” Doc. 33 at 6. From its inception, this case

required the Court to decide whether the request has a “legitimate legislative purpose”; whether

and how to weigh “the abundant public evidence that the Committee’s stated purpose … is

pretextual”; whether the request is “an impermissible incursion on the independence of the

Executive Branch”; whether the request “violates Defendant-Intervenors’ individual

constitutional rights”; and whether the request constitutes “impermissible harassment.” Doc. 33

at 6, 9. Since then, more questions have arisen in light of the Supreme Court’s decision in

Mazars, which articulated a heightened standard for subpoenas that present “separation of

powers concerns.” 140 S. Ct. at 2034. On remand in Mazars, the parties are actively litigating

whether the Mazars standard applies to a congressional request, like this one, that is ostensibly

directed to a former President but was made while he was President and pursues President-

specific topics. As Judge Mehta recently remarked in Mazars, two years of litigation in that case

has “resulted in, perhaps, more questions than answers,” including “what the proper standard is

here, what the proper record is, and how to apply the proper standard to the proper record.”

6/15/21 Tr. 3, Trump v. Comm. on Oversight & Reform of the U.S. House of Representatives, No.

19-cv-1136 (D.D.C.).

                                                  5
         Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 6 of 8




       Intervenors’ cross-claims and counterclaims are also fact-intensive and likely require

some period of discovery. The executive branch certainly enjoys no immunity from discovery.

See, e.g., Dep't of Commerce v. New York, 139 S. Ct. 2551, 2564 (2019). And Defendants likely

have relevant evidence concerning purpose, legislative need, retaliatory intent, and the

accommodation process. See generally Mazars, 140 S. Ct. at 2035-36. Committee members

likely have discoverable information as well. See Jewish War Veterans of U.S.A., Inc. v. Gates,

506 F. Supp. 2d 30, 58-60 (D.D.C. 2007) (explaining that Members’ political activities,

communications with the executive branch, and legislative purposes (as opposed to motives) are

discoverable). If Defendants or the Committee disagree that any of this information is

discoverable, that dispute, too, will take time to resolve. But as the Government explained earlier

in this case, Intervenors’ claims and the “weighty constitutional issues” they present should not

be decided “until the record on which those claims are putatively to be decided is complete.”

Doc. 33 at 2.

       Intervenors thus propose a highly expedited, but more realistic and reasonable schedule.

This Court should set a date for trial in the event that an evidentiary hearing is necessary.

Intervenors should be given 60 days to conduct any discovery. After the close of discovery,

Intervenors should be given 30 days to file an opening trial brief. The Court should impose a

briefing schedule that gives the parties adequate time to respond and the Court adequate time to

prepare for the final hearing. In the interim, the Court should order—consistent with Defendants’

stated position—that Defendants cannot comply with Chairman Neal’s §6103(f) requests, or

otherwise disclose the requested tax information to the Committee, before this Court enters a

final decision.



Dated: August 4, 2021

                                                  6
Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 7 of 8




                              Respectfully submitted,

                              BRIAN D. NETTER
                              Deputy Assistant Attorney General

                              JOHN R. GRIFFITHS
                              Director

                              ELIZABETH J. SHAPIRO
                              Deputy Director


                               /s/ James J. Gilligan
                              JAMES J. GILLIGAN
                              Special Litigation Counsel

                              SERENA M. ORLOFF
                              STEVEN A. MYERS
                              CRISTEN C. HANDLEY
                              Attorneys
                              U.S. Department of Justice
                              Civil Division, Federal Programs Branch
                              P.O. Box 883
                              Washington, D.C. 20044
                              Telephone:     (202) 514-3358
                              Fax:           (202) 616-8470
                              E-mail:        james.gilligan@usdoj.gov

                              Counsel for Defendants

                               /s/ Douglas N. Letter
                              Douglas N. Letter (DC Bar No. 253492)
                                General Counsel
                              Todd B. Tatelman (VA Bar No. 66008)
                              Eric R. Columbus (D.C. Bar No. 487736)
                              Stacie M. Fahsel (D.C. Bar. No. 1034314)

                              OFFICE OF GENERAL COUNSEL
                              U.S. HOUSE OF REPRESENTATIVES
                              5140 O’Neill House Office Building
                              Washington, D.C. 20515
                              Telephone: (202) 225-9700
                              douglas.letter@mail.house.gov

                              Counsel for Plaintiff Committee on Ways and
                              Means, U.S. House of Representatives
                              7
Case 1:19-cv-01974-TNM Document 114 Filed 08/04/21 Page 8 of 8




                              William S. Consovoy (D.C. Bar #493423)
                              Cameron T. Norris
                              CONSOVOY MCCARTHY PLLC
                              1600 Wilson Boulevard, Suite 700
                              Arlington, VA 22209
                              (703) 243-9423
                              will@consovoymccarthy.com
                              cam@consovoymccarthy.com


                               /s/ Patrick Strawbridge
                              Patrick Strawbridge (pro hac vice)
                              CONSOVOY MCCARTHY PLLC
                              Ten Post Office Square, 8th Floor
                              South PMB #706
                              Boston, MA 02109
                              (617) 227-0548
                              patrick@consovoymccarthy.com

                              Counsel for Intervenor-Defendants Donald J.
                              Trump, The Donald J. Trump Revocable Trust,
                              DJT Holdings LLC, DJT Holdings Managing
                              Member LLC, DTTM Operations LLC, DTTM
                              Operations Managing Member Corp, LFB
                              Acquisition Member Corp., LFB Acquisition
                              LLC, and Lamington Farm Club, LLC d/b/a
                              Trump National Golf Club-Bedminster




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